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                                                                                        VV
                                                                                 FRK OF C "T
                               UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF OHIO                  ^010 MA'f 18 PH 3- U6
                                      EASTERN DIVISION


 UNITED STATES OF AMERICA,
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                                                          CASE NO. 2:18-CRi'^5
                  Plaintiff,
                                                         JUDGE MARBLEY
         V.

                                                         SUPERSEDING INFORMATION
 JASON J. DELCOL,
                                                         21 U.S.C. § 846
                  Defendant.                             18 U.S.C. § 1512(b)(3)
                                                         26 U.S.C. § 5861(d)

                                                         FORFEITURE ALLEGATION



THE UNITED STATES ATTORNEY CHARGES:

                                             COUNT 1
              (Conspiracy to Possess with the Intent to Distribute and to Distribute
          Controlled Substances Within 1,000 Feet of a Public Elementary School)

       Beginning on or about April 1,2017, and continuing to on or about February 27,2018, in

the Southern District of Ohio and elsewhere, Defendant JASON J. DELCOL knowingly and

intentionally combined, conspired, confederated and agreed with Nicholas D. Glassbum (not

named in this Superseding Information), Benjamin J. Owings (not named in this Superseding

Information), and others to distribute and to possess with the intent to distribute controlled

substances within one thousand feet of the real property comprising a public elementary

school—^namely, James Conger Elementary School, in Delaware, Ohio—in violation of 21

U.S.C. §§ 841 and 860(a); and to distribute and to possess with intent to distribute controlled

substances, including hydrocodone, oxycodone, alprazolam (Xanax), testosterone, and anabolic

steroids, in violation of 21 U.S.C. § 841.

       In violation of 21 U.S.C. § 846.
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                                            COUNT2
                                      (Witness Tampering)

       On or about August 5,2017, in the Southern District of Ohio, Defendant JASON J.

DELCOL did knowingly engage in misleading conduct toward a Morrow County Sheriffs

Deputyby falselydenyingthat he knew Nicholas D. Glassbum (not named in this Superseding

Information) to be involved in drugs, with the intent to hinder, delay, and prevent the

communication to a federal law enforcement officer of information relating to the commission

and possible commission of a Federal offense.

       In violation of 18 U.S.C. § 1512(b)(3).


                                            COUNTS
         (Possession of an Unregistered Machinegun and an Unregistered Silencer)

       On or about February 27,2018, in the Southern District of Ohio, Defendant JASON J.

DELCOL knowingly possessed firearms, as defined in 26 U.S.C. § 5845(a)—^namely, a metal

cylindrical device, approximately 6 Vi inches in length with a hole through itscenter, designed as

a silencer and bearing no serial number; and a STEN-type, 9mm Lugercaliber machinegun,

bearing no serial number—not registered to him in theNational Firearms Registration and

Transfer Record.


       In violation of 26 U.S.C. §§ 5841,5861(d), and 5871.
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                                FORFEITURE ALLEGATION


       The allegations of Count 3 of this Superseding Information are incorporated here.

       Upon conviction of the violation of 26 U.S.C. § 5861(d), set forth in Count 3 of this

Superseding Information, Defendant JASON J. DELCOL shall forfeit to the United States,

pursuant to 26 U.S.C. § 5872(a) and 28 U.S.C. § 2461(c), all firearms involved in the

commission of the offense, including, but not limited to, the following: a metal cylindrical

device, approximately 6 14 inches in length with a hole through its center, designed as a silencer

and bearingno serial number; and a STEN-type, 9mm Lugercaliber machinegun, bearing no

serial number, which were not registered to the defendant in the National Firearms Registration

and Transfer Record.

       Forfeiture pursuant to 26 U.S.C. § 5872(a), 28 U.S.C. § 2461(c), and Rule 32.2 of the
Federal Rules of Criminal Procedure.




                                             BENJAMIN C. CLASSMAN
                                             UNITED STATES ATTORNEY




                                             PETER K. ^ILENN-APPL'TC^E (0088708)
                                             Assistant United States Attorney
